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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARK HARRELLSON, et al.,                    :
             Plaintiffs,                    :
                                            :
          v.                                :      Civ. No. 21-5211
                                            :
HAGENS BERMAN SOBOL                         :
SHAPIRO LLP, et al.,                        :
                  Defendants.               :

                                       ORDER

      AND NOW, this 28th day of December, 2021, it is hereby ORDERED that Plaintiffs’

Application for Admission Pro Hac Vice of Nicholas Boebel (Doc. No. 3) is GRANTED.




                                                      AND IT IS SO ORDERED.


                                                       /s/ Paul S. Diamond
                                                      _________________________
                                                      Paul S. Diamond, J.
